       Case 3:21-cv-01778-RDM Document 48 Filed 11/11/21 Page 1 of 1




                      THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE #1, in his own capacity and :
as parent of child DOE 1, et al.,    :
                                     :
                    Plaintiffs,      :
      v.                             :              3:21-CV-1778
                                     :              (JUDGE MARIANI)
DELAWARE VALLEY                      :
SCHOOL DISTRICT, et al.,             :
                                     :
                    Defendant.       :

                                           ORDER

      AND NOW, THIS 11TH DAY OF NOVEMBER, 2021, for the reasons set forth in this

Court’s accompanying memorandum opinion, IT IS HEREBY ORDERED THAT:

    1. Plaintiffs’ motion requesting a preliminary injunction (Doc. 5) is DENIED.

    2. The Temporary Restraining Order (“TRO”) issued by this Court on October 20,

       2021 (Doc. 12) and extended by this Court on October 29, 2021 (Doc. 32) is

       DISSOLVED.

    3. In light of this Court’s denial of Plaintiffs’ motion for preliminary injunctive relief and

       dissolution of the TRO, Defendants’ “Motion[s] to Vacate the Temporary

       Restraining Order” (Docs. 38, 45) are DISMISSED AS MOOT.




                                                     _s/ Robert D. Mariani______________
                                                     Robert D. Mariani
                                                     United States District Judge
